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UNITED STA TEs DISTRICT CoURT "'/ \

WESTERN DISTRICT 0F TENNESSEE § -1 § § »
EASTERN DIVISION " . ~'

 

 

LARRY JOHNSON, .IUDGMENT IN A CIVIL CASE

Plaintiff,
v.

CORRECTIONS CORPORATION CASE NO: 1:03-1232-B
OF AMERICA, et al.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Agreed Order Of
Dismissal With Pre judice entered on July 6, 2005, this cause is hereby dismissed with prejudice.

()VED:

 

. o‘NIEL BREEN \
.i» TED STATES DISTRICT COURT
f THoMAs n eoui_n

  
  

Clerk of Court

(;.

(By) Deputy Clerk

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This document entered on the docket sheet in compl:ance

with Fiu!e 58 and,'or_‘/Q (a) FRCP on

 

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This notice confirms a copy of the document docketed as number 35 in
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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

